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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

    (1) FEDERAL NATIONAL                       )
    MORTGAGE ASSOCIATION,                      )
                                               )
                  Plaintiff,                   )
                                               )
    v.                                         ) Case No. 22-cv-00494-GKF-JFJ
                                               )
    (1) CITYR GROUP AT                         )
    VISTA SHADOW LLC;                          )
                                               )
    and                                        )
                                               )
    (2) MICHAEL SABO, an individual,           )
                                               )
                  Defendants.                  )

                   STIPULATION OF DISMISSAL WITH PREJUDICE

          The parties, by and through their respective counsel of record, and pursuant to Fed.

   R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismissal with prejudice of the above-

   captioned action. The parties shall bear their own costs and attorneys’ fees.

                                             Respectfully submitted,



                                             s/Christopher Scaperlanda
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                                      and

                                      HALL, ESTILL, HARDWICK, GABLE,
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                               CERTIFICATE OF SERVICE

          I hereby certify that on the 7th day of February, 2023, I electronically transmitted
   the foregoing document to the Clerk of Court using the ECF System for filing and
   transmittal of a Notice of Electronic Filing to the ECF registrants.

                                            s/Christopher Scaperlanda




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